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Honorable Loma G. Schofield
United States District Judge
‘Southern District of New York
500 Pearl Street

New York, New York 10007

BY ECF
Re: United States v. Sohrab Sharma

18 Cr. 340 (LGS)
Dear Judge Schofield:

Defendant Robert Farkas’s (“Farkas”) sentencing hearing is scheduled for October
22, 2020. As Farkas, his supporters, and his Miami-based counsel prepared for travel to New York
from Florida for the October 22 sentencing, it became apparent that they will all be required to
quarantine for 14 days prior to entering the Courthouse. This requirement, albeit well founded, causes
tremendous logistical problems for Farkas, his supporters, and his Miami-based counsel. For this
reason, Farkas writes to respectfully request, with the consent of the Government, that the Court
adjourn his sentencing to November 19, 2020, as waiting this period of time may eliminate the need
for quarantine. Should it become apparent that the quarantine requirement will remain in effect for
the immediate future, Farkas will strongly consider appearing remotely so that his case can be
resolved and his family and supporters will not be inconvenienced. The government does not have a
current position as to a remote proceeding and reserves the right to address that issue should it arise.

In the event that this application is granted by the Court, the parties respectfully
request that the defense submission date be. extended to October 15, 2020 and the government
submission to October 29, 2020. Thank you for Your Honor’s consideration of these requests.

Very truly yours,

Sanford Talkin
Sanford Talkin

ce: All Counsel (by ECF)
